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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   STEVEN DALTON and TINA PIZZO,                        Case No.: 21-CV-2143-W-WVG
12                                      Plaintiffs,
                                                          ORDER ON JOINT MOTION TO
13   v.                                                   CONTINUE VIDEO MANDATORY
                                                          SETTLEMENT CONFERENCE
14   COUNTY OF SAN DIEGO and DOES 1
     through 5, inclusive,
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                                     Defendants.
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           Before the Court is the Parties’ Joint Motion to Continue Mandatory Settlement
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     Conference (“Joint Motion”). (Doc. No. 25.) The Parties move the Court to continue the
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     April 21, 2023, Video Mandatory Settlement Conference (“MSC”) to one of four proposed
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     dates due to Plaintiff’s counsel’s “unavoidable calendar conflicts.” (Id., 1:15-21.) Because
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     Plaintiff’s counsel’s participation in the MSC is mandatory rather than permissive, the
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     Court GRANTS the Joint Motion. In so ruling, the Court observes Plaintiff’s counsel had
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     ample notice of the April 21, 2023 MSC, as the MSC had been scheduled eight months ago
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     pursuant to the Court’s July 25, 2022, Scheduling Order Regulating Discovery and Other
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     Pre-Trial Proceedings (“Scheduling Order”). (See Doc. No. 23.) The Court issued the
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     Scheduling Order in reliance on all attorneys, including Plaintiff’s counsel, indicating their
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     availability to participate in the MSC during the July 25, 2022, Video Case Management


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 1   Conference (“CMC”). Thus, the calendaring conflicts that prompted the Joint Motion arose
 2   after the CMC and were avoidable.
 3         Nonetheless, the Court GRANTS the Joint Motion but cautions the Parties it will not
 4   do so again. To that end, the Court CONTINUES the Video MSC to Tuesday, May 2,
 5   2023, at 2:00 p.m. PST, consistent with the Parties’ representation that they and their
 6   counsel are available on such date without any noted time restrictions. No other dates in
 7   the operative Scheduling Order shall be modified unless by separate order of this Court.
 8   (See generally Doc. No. 23.)
 9         IT IS SO ORDERED.
10   DATED: March 31, 2023
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